2 AO 121 (6/90)
             Case     3:19-cv-00802-M Document 17 Filed 10/15/19                                      Page 1 of 12 PageID 90
TO:

                 Register of Copyrights                                                            REPORT ON THE
                 Copyright Office                                                          FILING OR DETERMINATION OF AN
                 Library of Congress                                                              ACTION OR APPEAL
                 Washington, D.C. 20559                                                        REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                    COURT NAME AND LOCATION
        G
        ✔ ACTION          G APPEAL                                   U.S. District Court- Dallas Division
DOCKET NO.                     DATE FILED
                                                                     1100 Commerce St., Suite 1452
3:19-cv-00802-M                04/01/2019
PLAINTIFF                                                                        DEFENDANT

Malibu Media LLC                                                                 John Doe
                                                                                 infringer using IP address 162.231.213.159


       COPYRIGHT
                                                           TITLE OF WORK                                               AUTHOR O WORK
    REGISTRATION NO.

1                              (See attached)

2

3

4

5



      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                  INCLUDED BY
                                        G Amendment                 G Answer               G Cross Bill            G Other Pleading
       COPYRIGHT
                                                           TITLE OF WORK                                               AUTHOR OF WORK
    REGISTRATION NO.

1

2

3                                                                    .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                               WRITTEN OPINION ATTACHED                                      DATE RENDERED

            G Order       G Judgment                                     G Yes         G
                                                                                       ✔ No


CLERK                                                       (BY) DEPUTY CLERK                                             DATE
Karen Mitchell                                              s/ A. Aguilar                                                 10/15/2019

                 1) Upon initiation of action,               2) Upon filing of document adding copyright(s),      3) Upon termination of action,
                    mail copy to Register of Copyrights         mail copy to Register of Copyrights                   mail copy to Register of Copyrights
DISTRIBUTION:
                 4) In the event of an appeal, forward copy to Appellate Court                5) Case File Copy
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                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS

MALIBU MEDIA, LLC,                               )
                                                 )
        Plaintiff,                               )   Civil Action Case No.
                                                 )
v.                                               )
                                                 )
JOHN DOE infringer using                         )
IP address 162.231.213.159,                      )
                                                 )
        Defendant.                               )
                                                 )

                     MALIBU MEDIA, LLC ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff, Malibu Media, LLC, files this Original Complaint and sues Defendant John Doe

using IP address 162.231.213.159, and alleges:

                                           Introduction

        1.      This matter arises under the United States Copyright Act of 1976, as amended, 17

U.S.C. §§ 101 et seq. (the “Copyright Act”).

        2.      Defendant is a persistent online infringer of Plaintiff’s copyrights.      Indeed,

Defendant used the IP address as set forth on Exhibit A to illegally distribute each of the

copyrighted movies set forth on Exhibit B.

        3.      Plaintiff is the registered owner of the copyrights set forth on Exhibit B (the

“Copyrights-in-Suit”).

                                     Jurisdiction And Venue

        4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 (federal question); and 28 U.S.C. § 1338 (patents, copyrights, trademarks and unfair

competition).


                                                 1
ORIGINAL COMPLAINT
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        5.      Plaintiff used proven IP address geolocation technology which has consistently

worked in similar cases to ensure that the Defendant’s acts of copyright infringement occurred

using an Internet Protocol address (“IP address”) traced to a physical address located within this

District, and therefore this Court has personal jurisdiction over the Defendant because (i)

Defendant committed the tortious conduct alleged in this Complaint in this State, and (ii)

Defendant resides in this State and/or (iii) Defendant has engaged in substantial and not isolated

business activity in this State.

        6.      Based upon experience filing over 1,000 cases the geolocation technology used by

Plaintiff has proven to be accurate to the District level in over 99% of the cases.

        7.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c), because:

(i) a substantial part of the events or omissions giving rise to the claims occurred in this District;

and, (ii) the Defendant resides (and therefore can be found) in this District and resides in this

State; additionally, venue is proper in this District pursuant 28 U.S.C. § 1400(a) (venue for

copyright cases) because Defendant or Defendant’s agent resides or may be found in this

District.

                                               Parties

        8.      Plaintiff, Malibu Media, LLC, (d/b/a “X-Art.com”) is a limited liability company

organized and existing under the laws of the State of California and has its principal place of

business located at 30700 Russell Ranch Road, Suite 250, Westlake Village, CA 91362.

        9.      Plaintiff only knows Defendant by the IP Address he or she used to commit the

complained of infringement (the “Subject IP Address”). The Subject IP Address is set forth on

Exhibit A.

        10.     The Internet Service Provider can identify the account holder of the Subject IP



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Address, an individual who may be the complained of infringer, or who may reasonably have

information calculated to lead to the discovery of the Defendant.



                                           Factual Background

         I.     Defendant Used the BitTorrent File Distribution Network To Infringe Plaintiff’s
                Copyrights

        11.      The BitTorrent file distribution network (“BitTorrent”) is one of the most

common peer-to-peer file sharing systems used for distributing large amounts of data, including,

but not limited to, digital movie files.

        12.     BitTorrent’s popularity stems from the ability of users to directly interact with

each other in order to distribute a large file without creating a heavy load on any individual

source computer and/or network. The methodology of BitTorrent allows users to interact directly

with each other, thus avoiding the need for intermediary host websites which are subject to

DMCA take down notices and potential regulatory enforcement actions.

        13.     In order to distribute a large file, the BitTorrent protocol breaks a file into many

small pieces. Users then exchange these small pieces among each other instead of attempting to

distribute a much larger digital file.

        14.     After the infringer receives all of the pieces of a digital media file, the infringer’s

BitTorrent client software reassembles the pieces so that the file may be opened and utilized.

        15.     Each piece of a BitTorrent file is assigned a unique cryptographic hash value.

        16.     The cryptographic hash value of the piece (“piece hash”) acts as that piece’s

unique digital fingerprint. Every digital file has one single possible cryptographic hash value

correlating to it. The BitTorrent protocol utilizes cryptographic hash values to ensure each piece

is properly routed amongst BitTorrent users as they engage in file sharing.


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ORIGINAL COMPLAINT
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        17.     The entirety of the digital media file also has a unique cryptographic hash value

(“file hash”), which acts as a digital fingerprint identifying the digital media file (e.g. a movie).

Once infringers complete downloading all pieces which comprise a digital media file, the

BitTorrent software uses the file hash to determine that the file is complete and accurate.

        18.     Plaintiff’s consulting expert, IPP International UG (“IPP”) established a direct

TCP/IP connection with the Defendant who was using the Subject IP Address as set forth on

Exhibit A.

        19.     IPP downloaded from Defendant one or more pieces of each of the digital media

files, as identified by the file hashes listed on Exhibit A.

        20.     Each digital media file as identified by the file hash listed on Exhibit A correlates

to a copyrighted film owned by Plaintiff, as set forth on Exhibit B.

        21.     A full copy of each digital media file was downloaded from the BitTorrent file

distribution network, and it was confirmed through independent calculation that the file hash

correlating to each file matched what is listed on Exhibit A. At no point was Plaintiff’s

copyrighted content uploaded to any other BitTorrent user.

        22.     Each digital media file as identified by the file hash listed on Exhibit A has been

verified to be a copy that is identical (or alternatively, strikingly similar or substantially similar)

to Plaintiff’s corresponding original work.

        23.     Plaintiff owns the copyrights to the original works (the “Copyrights-in-Suit”). An

overview of the Copyrights-in-Suit, including each hit date, date of first publication, registration

date, and registration number issued by the United States Copyright Office is set forth on Exhibit

B.

        24.     Defendant downloaded, copied, and distributed a complete copy of Plaintiff’s



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works without authorization as enumerated on Exhibit A.

         25.    IPP connected, over a course of time, with Defendant who was using the Subject

IP Address for each digital media file identified by the hash value as listed on Exhibit A. The

most recent TCP/IP connection between IPP and the Defendant using the Subject IP Address for

each file hash value listed on Exhibit A is included within the column labeled Hit Date

UTC. UTC refers to Universal Time which is utilized for air traffic control as well as for

computer forensic purposes.

         26.    Plaintiff’s evidence establishes that Defendant is a habitual and persistent

BitTorrent user and copyright infringer.

                                           Miscellaneous

         27.    All conditions precedent to bringing this action have occurred or been waived.

         28.    Plaintiff has retained counsel and is obligated to pay said counsel a reasonable fee

for their services.

                                            COUNT I
                             Direct Infringement Against Defendant

         29.    The allegations contained in paragraphs 1-28 are hereby re-alleged as if fully set

forth herein.

         30.    Plaintiff is the owner of the Copyrights-in-Suit, as outlined in Exhibit B, each of

which covers an original work of authorship.

         31.    By using BitTorrent, Defendant copied and distributed the constituent elements of

each of the original works covered by the Copyrights-in-Suit.

         32.    Plaintiff did not authorize, permit or consent to Defendant’s distribution of its

works.

         33.    As a result of the foregoing, Defendant violated Plaintiff’s exclusive right to:


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ORIGINAL COMPLAINT
   Case 3:19-cv-00802-M Document 17 Filed 10/15/19                      Page 7 of 12 PageID 96


       (A)     Reproduce the works in copies, in violation of 17 U.S.C. §§ 106(1) and 501;

       (B)     Redistribute copies of the works to the public by sale or other transfer of

ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§ 106(3) and 501;

       (C)      Perform the copyrighted works, in violation of 17 U.S.C. §§ 106(4) and 501, by

showing the works’ images in any sequence and/or by making the sounds accompanying the

works audible and transmitting said performance of the works, by means of a device or process,

to members of the public capable of receiving the display (as set forth in 17 U.S.C. § 101’s

definitions of “perform” and “publicly” perform); and

       (D)      Display the copyrighted works, in violation of 17 U.S.C. §§ 106(5) and 501, by

showing individual images of the works nonsequentially and transmitting said display of the

works by means of a device or process to members of the public capable of receiving the display

(as set forth in 17 U.S.C. § 101’s definition of “publicly” display).

       34.     Defendant’s infringements were committed “willfully” within the meaning of 17

U.S.C. § 504(c)(2).

       WHEREFORE, Plaintiff respectfully requests that the Court:

       (A)     Permanently enjoin Defendant and all other persons who are in active concert or

participation with Defendant from continuing to infringe Plaintiff’s copyrighted works;

       (B)     Order that Defendant delete and permanently remove the digital media files

relating to Plaintiff’s works from each of the computers under Defendant’s possession, custody

or control;

       (C)     Order that Defendant delete and permanently remove the infringing copies of the

works Defendant has on computers under Defendant’s possession, custody or control;

       (D)     Award Plaintiff statutory damages per infringed work pursuant to 17 U.S.C. § 504



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ORIGINAL COMPLAINT
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(a) and (c);

        (E)    Award Plaintiff its reasonable attorneys’ fees and costs pursuant to 17 U.S.C. §

505;

        (F)    Award Plaintiff pre-judgment and post-judgment interest at the maximum legal

rate; and

        (G)    Grant Plaintiff any other and further relief this Court deems just and proper.

                                DEMAND FOR A JURY TRIAL

        Plaintiff hereby demands a trial by jury on all issues so triable.

                                                       Respectfully submitted,

                                                       By: /s/ Paul S. Beik
                                                       Paul S. Beik
                                                       Texas Bar No. 24054444
                                                       BEIK LAW FIRM, PLLC
                                                       8100 Washington Ave., Suite 1000
                                                       Houston, TX 77007
                                                       T: 713-869-6975
                                                       F: 713-868-2262
                                                       E-mail: paul@beiklaw.com
                                                       ATTORNEY FOR PLAINTIFF




                                                  7
ORIGINAL COMPLAINT
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                                  IPP International U.G. Declaration Exhibit A
                                  File Hashes for IP Address 162.231.213.159

ISP: AT&T U-verse
Physical Location: Keller, TX



Hit Date UTC            File Hash                                         Title
01/06/2019 22:10:20     FB84F005B198570DEBC57B02B615249FA6C669E2          Fashion Show Fucking

01/06/2019 21:58:08     9813E1636AC496680E1120A32C18480590EFD2B0          Threeway Strip Poker

10/13/2018 05:55:58     6A6FC9C13F279FA51EE7F3658A3296F273C7089D          Sexy Surfing Lessons

10/11/2018 11:38:06     761C73E3510E4D50FD82F82EECAC6E8671341092          Our Lucky Day

07/25/2018 00:24:00     F8D11A4D5C5BB3A07DCBB5E150E9E040DFF6E319          Moving Day Sex

06/24/2018 18:01:07     B2A6AFE50E6C569016C5D1B4424CBE0632E5AF28          Puffy Nipple Lovers

06/18/2018 01:33:01     DDBAB366A23DE818C1DCD4F00C4BC42DFA6A49A0 Wet Perfection

06/17/2018 04:42:23     9A90BB3B08FBC81CF4CB979FCFB35A4FE35A755B          Sex For Three By The Sea

06/11/2018 01:36:08     89B1D793636AF77DECDD2D0C433D7419FB328136          XXX Threeway Games

01/22/2018 05:44:52     418612CDA063819CF12372355DCD2C2573FD0337          Truth or Dare

01/15/2018 16:50:07     1D7F77503ECAEB0394329781D7BFC3F76D16326D          Caprice Swaps Cocks


Total Statutory Claims Against Defendant: 11




                                                  EXHIBIT A
NTX3
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                              Copyrights-In-Suit for IP Address 162.231.213.159

ISP: AT&T U-verse
Location: Keller, TX



                               Registration        Date of First                            Most Recent Hit
Title                          Number              Publication          Registration Date   UTC
Fashion Show Fucking           PA0002149328        01/04/2019           01/07/2019          01/06/2019

Threeway Strip Poker           PA0002133715        07/27/2018           08/02/2018          01/06/2019

Sexy Surfing Lessons           PA0002144405        10/11/2018           11/27/2018          10/13/2018

Our Lucky Day                  PA0002129092        07/06/2018           07/17/2018          10/11/2018

Moving Day Sex                 PA0002133713        07/21/2018           08/02/2018          07/25/2018

Puffy Nipple Lovers            PA0001973341        09/28/2015           10/05/2015          06/24/2018

Wet Perfection                 PA0002036156        10/07/2016           12/04/2016          06/18/2018

Sex For Three By The Sea       PA0002078047        07/29/2017           08/30/2017          06/17/2018

XXX Threeway Games             PA0002078584        06/30/2017           08/30/2017          06/11/2018

Truth or Dare                  PA0001846099        05/16/2013           06/30/2013          01/22/2018

Caprice Swaps Cocks            PA0002036760        09/17/2016           12/04/2016          01/15/2018


Total Malibu Media, LLC Copyrights Infringed: 11




                                                   EXHIBIT B
NTX3
JS 44 (Rev. 06/17) - TXND (Rev. 06/17)      CIVIL COVER
                      Case 3:19-cv-00802-M Document 17 Filed SHEET
                                                             10/15/19 Page 11 of 12 PageID 100
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
           MALIBU MEDIA, LLC                                                                                  JOHN DOE infringer using IP address 162.231.213.159

    (b) County of Residence of First Listed Plaintiff             Los Angeles County                          County of Residence of First Listed Defendant             Tarrant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
          Paul S. Beik, Beik Law Firm,
          PLLC. 8100 Washington Avenue, Ste. 1000
          Houston, TX. 77007 - Tel: (713) 869-6975

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1        ’ 1      Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5      ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6      ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY             ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                  ’ 365 Personal Injury -             of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product                Product Liability       ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability                ’ 367 Health Care/                                                                                 ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                        Personal Injury                                             ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’              Product Liability                                           ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability                ’ 368 Asbestos Personal                                           ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                          Injury Product                                                    New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                  Liability                                                   ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY                        LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle             ’ 370 Other Fraud             ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle             ’ 371 Truth in Lending               Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability         ’ 380 Other Personal          ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                  Property Damage                Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                    ’ 385 Property Damage         ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -               Product Liability       ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS           ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights          Habeas Corpus:              ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                    ’ 463 Alien Detainee                Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment                ’ 510 Motions to Vacate                                           ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                        Sentence                                                           26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations            ’ 530 General                                                                                      ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -    ’ 535 Death Penalty                 IMMIGRATION                                                          State Statutes
                                             Employment                  Other:                      ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -    ’ 540 Mandamus & Other        ’ 465 Other Immigration
                                             Other                     ’ 550 Civil Rights                  Actions
                                     ’   448 Education                 ’ 555 Prison Condition
                                                                       ’ 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original            ’ 2 Removed from                ’ 3         Remanded from            ’ 4 Reinstated or      ’ 5 Transferred from    ’ 6 Multidistrict                 ’ 8 Multidistrict
    Proceeding              State Court                             Appellate Court              Reopened               Another District             Litigation -                 Litigation -
                                                                                                                        (specify)                        Transfer                    Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          17 U.S.C.§ 101
VI. CAUSE OF ACTION                      Brief description of cause:
                                           Copyright Infringement
VII. REQUESTED IN   ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                        150000.00                                JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                                JUDGE                                                                                            DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
4/1/2019                                                                /s/ Paul S. Beik
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
JS 44 Reverse (Rev. 06/17) - TXND (Rev. 06/17)
                   Case 3:19-cv-00802-M Document 17 Filed 10/15/19                                       Page 12 of 12 PageID 101
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency,
         use only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at
         the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
         noting in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an
         "X" in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark
         this section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit
         code that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite
         jurisdictional statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If a related case exists, whether pending or closed,
      insert the docket numbers and the corresponding judge names for such cases. A case is related to this filing if the case: 1) involves some or all of the
      same parties and is based on the same or similar claim; 2) involves the same property, transaction, or event; 3) involves substantially similar issues of
      law and fact; and/or 4) involves the same estate in a bankruptcy appeal.

Date and Attorney Signature. Date and sign the civil cover sheet.
